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            IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
DAVID HERNANDEZ,              )                       ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on plaintiff’s motion

to withdraw motion for preliminary order of forfeiture (Filing

No. 519).   The Court finds the motion should be granted.

Accordingly,

            IT IS ORDERED that plaintiff’s motion is granted.                The

motion for preliminary order of forfeiture (Filing No. 518) is

deemed withdrawn.

            DATED this 16th day of October, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
